 

Case 6:17-CV-06167-DGL Document 11 Filed 09/01/17 Page 1 of 2

IN THE U'NITED STATES DISTR_`[CT COURT
FOR TI-[E WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AM]ER`[CA,

-v...

THE PREMISES AN`D REAL PROPERTY
WITH ALL BU'[LD]NGS, APPURTENANCES,
AND NPROVEMENTS, LOCATED AT

90 EAST LA.K.E R.OAD, IVI[DDLESEX,

NEW YORK, THAT IS, ALL THAT TRACT
OR PARCEL OF LAN'D SITUATED IN THE
TOWN OF MIDDLESEX, COUNTY OF
YATES, AND STATE OF NEW YORK,

AND MOR.E PARTICULARLY DESCRIBED
IN A CERTA]N DEED R.ECORDED ]N THE
YATES COUNTY CLERK’S OFFICE UN`DER
INSTRU|\CENT NUI\ABER 2012-00000634 IN
BOOK OF DEEDS VOLUME 639 AT PAGE 191,

Defendant.

 

17~CV-6l67]'_.

STIPULATION EXTENDING TIME 'I`O FILE CLAIM

 

IN A FORFEITURE ACTION

I'I` IS HER.EBY STIPULATED AND AGREED by and between the United States of

America by .T ames P. Kennedy, JI., United States Attomey for the Westem District of New

York, Grace M. Carducci, Assistant United States Attomey, of counsel, and CaIl A.

Stejnbrenner, Esq. as attorney for 90 East Lake LLC, that the time for 90 East Lake LLC to

tile its Claim in the above captioned case shall be extended until February 28 , 2018.

 

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DATED: ‘€ 1 ,2017

By:

DATED Au§ng 51,2017

I'I` IS SO ORDERED:

JAl\/[ES P. KENNEDY, JR.
Acting United States Attorney
Western Distrlct of New York

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Rochester, New York 14608

(585) 730-7357
CSteinbrenner@steinbrennerlaw.com

DATED. f /j ,/a:c-ZRochester, New York.

I'ION. DAVID G. LARIMER
United States Distdct Judge

